                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                     No. 5:18-CR-00452-FL-1



 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
    v.                                           )                      ORDER
                                                 )
                                                 )
 LEONID ISAAKOVICH TEYF,                         )
                                                 )
                  Defendant.                     )


         This matter is before the court on defendant’s motion to continue trial on counts 27–29 of

the fourth superseding indictment, presently set to commence February 16, 2021, to start March

29, 2021, the date set for defendant’s trial on all other counts. (DE 610). The government does

not oppose the motion on the grounds under which it is granted, as noted at February 8, 2021,

telephonic hearing.

         The court may exclude from speedy trial computation “[a]ny period of delay resulting from

a continuance granted by any judge on [her] own motion or at the request of the defendant or his

counsel or at the request of the attorney for the Government, if the judge granted such continuance

on the basis of [her] findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

         The court, having conducted numerous criminal trials safely since late August 2020, finds

that a continuance is not necessary for the reason of defendant’s general concerns regarding

conducting trial under COVID-19 impacted conditions.            However, the court does find a

continuance appropriate to promote the parties’ continuing negotiations that would resolve this




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matter short of trial, which they note requires additional time to complete. The court notes that

COVID-19-related restrictions on lead defense counsel’s ability to travel, and on all defense

counsel’s ability to communicate and meet in person with defendant, further support the need for

a continuance on this basis. Likewise, the language barrier between defendant and his counsel

further complicates coordination on these negotiations.

       Based on the foregoing, defendant’s motion to continue trial of counts 27–29 is

GRANTED. Trial of counts 27–29 of the fourth superseding indictment is CONTINUED to

Monday, March 29, 2021, at New Bern, with administrative conference at 9:00 a.m. and jury

selection beginning at 9:30 a.m. Not later than March 22, 2021, the parties shall file their proposed

supplemental jury instructions and voir dire. The court finds that the ends of justice served by this

continuance outweigh the best interests of the public and the defendant in a speedy trial.

       SO ORDERED, this the 8th day of February, 2021.



                                              _________________________
                                              LOUISE W. FLANAGAN
                                              United States District Judge




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